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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                 GALVESTON DIVISION

RICHARD E. SCHULTZ                                     §
                                                       §
            Plaintiff/Counter-Defendant,               §
                                                       §
                                                       §
v.                                                     §
                                                       §
DEUTSCHE BANK NATIONAL TRUST                           §          Civil Action No. 3:22-cv-00094
COMPANY,                                               §
                                                       §
            Defendant/Counter-Plaintiff,               §
                                                       §
v.                                                     §
                                                       §
MERDITH ANN SCHULTZ                                    §
                                                       §
            Third Party Defendant                      §

                     JOINT DISCOVERY/CASE MANAGEMENT PLAN
                    under Rule 26(f) of the Federal Rules of Civil Procedure

        Pursuant to Federal Rule of Civil Procedure 26(f) and this Court’s Order for Conference

and Disclosure of Interested Parties (Dkt. No. 4) (the “Order”), Deutsche Bank National Trust

Company, as Trustee for Ameriquest Mortgage Securities Inc., Asset-Backed Pass-Through

Certificates, Series 2004-R41 (“Deutsche” or “Defendant”) and Richard E. Schultz (“Plaintiff”)

file this Joint Discovery/Case Management Plan and respectfully shows the Court as follows:

      (1)    State when the conference among the parties required by Rule 26(f) of the
             Federal Rules of Civil Procedure was held, and identify the counsel who
             attended for each party, including name, address, bar number, phone and fax
             numbers, and email addresses.

             The Parties conferred on July 6, 2022 by email correspondence.



1
  Plaintiff incorrectly named "Deutsche Bank National Trust Company" as the party-defendant in this case.
Deutsche Bank National Trust Company, as Trustee for Ameriquest Mortgage Securities Inc., Asset-Backed Pass-
Through Certificates, Series 2004-R4 is appearing herein in its correct capacity as stated above.


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    (2)   List the cases related to this one that are pending in any state of federal court
          with the case number and court, and state how the cases are related.

          None.

    (3)   Briefly describe what this case is about.

          The allegations in the Petition relate to a deed of trust and foreclosure proceedings on
          Plaintiff’s real property located at 6717 S.F. Austin, Jones Creek, Texas 77541 (the
          “Property”). (See Petition at ¶6). In the Petition, Plaintiff alleges that foreclosure of
          the Property should not proceed because of Defendant’s alleged wrongful conduct
          relating to the servicing of Plaintiff’s account and notices relating to foreclosure. (Id.
          at ¶¶ 7-15.).

          Defendant has filed a Counterclaim seeking an Order to proceed with foreclosure
          against Plaintiff and Third Party Defendant, Meredith Ann Schultz.

    (4)   Identify any issues as to service of process, personal jurisdiction, or venue.

          None at this time.

    (5)   Federal Jurisdiction
             a. Specify the allegation of federal jurisdiction.

                  There is diversity jurisdiction in this Court because there is complete diversity
                  of citizenship between Plaintiffs and Defendants, and more than $75,000.00 is
                  in controversy, exclusive of interest and costs. See 28 U.S.C. § 1332.

             b. Identify the parties, if any who disagree with the plaintiff’s federal
                jurisdictional allegations and state their reasons.

                  None.

             c. If federal jurisdiction is based on diversity of citizenship and any of the
                parties is a limited liability entity, please state the citizenship of each of
                the members of the limited liability entity. When members of a limited
                liability entity are themselves entities or associations, citizenship must be
                traced through however many layers of members there are until arriving
                at the entity that is not a limited liability and identifying its citizenship.
                See Acadian Diagnostic Labs., L.L.C. v. Quality Toxicology, L.L.C., 965
                F.3d 404, 408 fn.1 (5th Cir. 2020).

                  Not applicable.




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    (6)   List anticipated additional parties that should be included, when they can be
          added by whom they are wanted.

          None at this time.

    (7)   List anticipated interventions.

          None at this time.

    (8)   Describe class-action or collective-action issues.

          None.

    (9)   State whether each party represents that it has made disclosures required by
          Rule 26(a). If not, describe the arrangements that have been made to complete
          the disclosures.

          Defendant has not made initial disclosures but has set a deadline of July 13, 2022 to
          complete the disclosures.

          Plaintiff made its initial disclosures on June 22, 2022.

    (10) If the case includes a claim for attorneys’ fees, state whether the parties agree to
         submit the fees issue to the court for resolution on affidavits or declarations,
         after the other issues are resolved.

          The parties agree to submit attorneys’ fees to the court for resolution on affidavit or
          declaration.

    (11) Describe the proposed agreed discovery plan, including:

     a) Responses to the matters raised in 26(f), including any agreements (and disputes)
        concerning electronic and other discovery:

             The Parties do not anticipate any changes in the timing, form, or requirement for
             disclosures under Rule 26(a).

             The Parties do not know of any issues about disclosure or discovery of
             electronically stored information (ESI), including the form(s) in which it should
             be produced is known at this time.

     b) Any threshold issues-such as limitations, jurisdiction, or immunity-that should
        be scheduled for early resolution, which discovery targeted to those issues may
        need d to occur early, and how long this targeted discovery will be.

          None at this time.



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     (12). Experts
            A. Are experts needed on issues other than attorneys’ fees?
            The parties do not anticipate the need for experts other than attorneys’ fees,
            B. If medical experts are needed, identify whether they are only treating
            physicians or also designated on other issues.
            Not applicable.
            C. The date the party with the burden of proof on an issue will be able to
            designate experts and provide the reports required by Rule 26(a)(2)(B)
            Plaintiff has already designated his expert for attorney fees and does not anticipate
            designating any further experts.

            D. The date the opposing party will be able to designate responsive experts
            and provide the reports required by Rule 26(a)(2)(B)

            Defendant anticipates it will able to designate experts before the end of the
            discovery period, proposed to be December 28, 2022.

     (13)   State the date discovery can reasonably be completed.

            The Parties anticipate discovery will be completed by December 28, 2022.

     (14)   If the parties are not agreed on a part of the discovery plan, describe the
            separate views and proposals of each party.

            No disputes regarding discovery at this time.

     (15)   Specify the discovery beyond initial disclosures that has been undertaken to
            date.

            None.

     (16)   Describe the possibilities for a prompt settlement or resolution of the case
            that were discussed in your Rule 26(f) meeting.

            The Parties are open to settlement discussions

     (17)   From the attorneys’ discussions with their client(s), state the alternative
            dispute resolution techniques that are reasonably suitable.

            If the Court believes that it is in the best interest of the Parties, the Parties would
            consent to mediation in an effort to settle this matter.




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     (18)   With the consent of all parties, United States Magistrate Judge Andrew
            Edison may preside and hear jury and non-jury trials. Indicate the parties’
            joint position on a trial before Magistrate Judge Edison.

            The parties do not consent to refer this case to the magistrate judge.

     (19)   State whether a jury demand has been made and if it was made on time.

            No jury demand has been made.

     (20)   Specify the number of hours it will take to present evidence in this case.

            The parties anticipate it will take 4-8 hours to present evidence in this case.

     (21)   List pending motions that could be ruled on at the initial pretrial and
            scheduling conference.

            None at this time.

     (22)   List other pending motions.

            None at this time.

     (23)   List issues or matters, including discovery, that should be addressed at the
            conference.

            None at this time.

     (24)   Certify that all parties have filed Disclosure of Interested Parties as directed
            in the Order for Conference and Disclosure of Interested Parties, listing the
            date of filing for original and any amendments.

            Defendant has filed a Disclosure of Interested Parties. [ECF No. 3].
            Plaintiff has filed its Disclosure of Interested Parties. [ECF No. 8].


     /s/ Robert C. Vilt                                    July 6, 2022
     Robert C. Vilt
     Counsel for Plaintiff

     /s/ Nicholas M. Frame                                 July 6, 2022
     Nicholas M. Frame
     Counsel for Defendant




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                                        Respectfully submitted,

                                        By: /s/ Nicholas M. Frame
                                         MARK D. CRONENWETT
                                         Attorney in Charge
                                         Texas Bar No. 00787303
                                         Southern District Bar No. 21340
                                         mcronenwett@mwzmlaw.com

                                          NICHOLAS M. FRAME
                                          Of Counsel
                                          Texas Bar No. 24093448
                                          Southern District Bar No. 3121681
                                          nframe@mwzmlaw.com

                                      MACKIE WOLF ZIENTZ & MANN, P. C.
                                      14160 North Dallas Parkway, Suite 900
                                      Dallas, TX 75254
                                      Telephone: (214) 635-2650
                                      Facsimile: (214) 635-2686

                                      ATTORNEYS FOR DEFENDANT




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